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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X              8/21/2023
                                                                       :
MULTI ACCESS LIMITED,                                                  :
                                                                       :
                                    Plaintiff,                         :
                                                                       :
                  -v-                                                  :
                                                                       :
GUANGZHOU BAIYUNSHAN                                                   :
PHARMACEUTICAL HOLDINGS CO., LTD.                                      :
(AKA GUANGZHOU BAIYUNSHAN                                              :
PHARMACEUTICAL HOLDING CO., LTD.);                                     :
WLJ (AMERICA) CO. INC.; GUANGZHOU                                      :
WANGLAOJI GREAT HEALTH CO., LTD.;                                      :
GUANGZHOU WANG LAO JI GREAT                                            :
HEALTH INDUSTRY CO., LTD. (AKA WLJ                                     :
GREAT HEALTH INDUSTRY CO., LTD.);                                      :   20-cv-7397 (LJL)
GUANGZHOU WANGLAOJI                                                    :
PHARMACEUTICAL CO., LTD.;                                              :        ORDER
GUANGZHOU WANG LAO JI GREAT                                            :
HEALTH ENTERPRISE DEVELOPMENT CO.,                                     :
LTD. (AKA WLJ GREAT HEALTH                                             :
ENTERPRISES DEVELOPMENT CO., LTD.);                                    :
GUANGZHOU PHARMACEUTICAL                                               :
HOLDINGS LTD. (AKA GUANGZHOU                                           :
PHARMACEUTICAL GROUP); GUANGZHOU                                       :
WANG LAO JI GREAT HEALTH ENTERPRISE                                    :
CO., LTD.; GUANGZHOU WANGLAOJI                                         :
HEALTH INDUSTRY CO., LTD., and TRISTAR                                 :
FOOD WHOLESALE CO. INC.,                                               :
                                                                       :
                                    Defendants.                        :
                                                                       :
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LEWIS J. LIMAN, United States District Judge:

       Plaintiff filed a motion for alternative service on July 19, 2023. Dkt. No. 159.
Defendants filed a response on August 9, 2023. Dkt. No. 166. Plaintiff shall file its reply, if any,
in support of its motion for alternative service by August 28, 2023.
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        The Court schedules a telephonic status conference with the parties on September 7, 2023
at 3:00 p.m. The parties may dial in 888-251-2909 and use access code 2123101.

       SO ORDERED.


Dated: August 21, 2023                             __________________________________
       New York, New York                                     LEWIS J. LIMAN
                                                          United States District Judge




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